      Case 1:05-cr-01849-JCH      Document 1044       Filed 07/27/07     Page 1 of 2




                IN THE DISTRICT COURT OF THE UNITED STATES
                      FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,                   §
                                            §
               Plaintiff,                   §
                                            §
vs.                                         §                 Cause No. 05-CR-1849-JH
                                            §
DANA JARVIS, et al,                         §
                                            §
               Defendants.                  §


                     UNOPPOSED MOTION TO WITHDRAW
                        AS COUNSEL FOR GREG HILL

          KARI CONVERSE, retained counsel for GREG HILL, moves to withdraw as

counsel for him. As grounds therefor, he would show the Court the following:

          1.   She has accepted full time employment with the federal public

defender’s office.

          2.   She has been informed that the federal public defender’s office has

conflicts with this case. Thus, even if Mr. Hill were to be found indigent, she could

not continue with her representation of him.

          3.   Counsel has consulted with AUSA James Braun, who does not oppose

herein.

          4.   Counsel has consulted with her client extensively about this issue, and

has attempted to assist him in obtaining new counsel. It is Mr. Hill’s intention to retain
     Case 1:05-cr-01849-JCH       Document 1044        Filed 07/27/07    Page 2 of 2




new counsel. However, due to a serious eye injury, he was unable to travel from his

home in Indiana to New Mexico for several weeks, and as of the filing of this motion,

has not yet retained substitute counsel. Counsel will continue to assist in this

transition, pursuant to NMRA 16-116(D).

       WHEREFORE, counsel requests that this Court authorize her withdrawal from

this case.

                                  Respectfully submitted,

                                    electronically filed
                                  KARI CONVERSE
                                  2001 Carlisle Blvd. NE #E
                                  Albuquerque, New Mexico 87110
                                  (505) 262-8597
                                  Fax (505) 262-1730
                                  Counsel for Mr. Hill


                               C ERTIFICATE OF S ERVICE

       I hereby certify that on July 27, 2007, I filed the foregoing electronically
through the CM/ECF system, which caused all parties or counsel to be served by
electronic means, as more fully reflected on the Notice of Electronic filing.


                                        electronically filed
                                  Kari Converse
